Case 2:17-cv-12054-SFC-RSW
          Case MDL No. 2311 ECF
                            Document
                                No. 20224
                                        filedFiled
                                               06/16/20
                                                   06/03/20
                                                          PageID.189
                                                            Page 1 of 1Page 1 of 1



                            UNITED STATES JUDICIAL PANEL
                                         on
                              MULTIDISTRICT LITIGATION


IN RE: AUTOMOTIVE PARTS
ANTITRUST LITIGATION                                                               MDL No. 2311



                           ORDER REASSIGNING LITIGATION


       The Panel has been notified of the need to reassign the above litigation to another judge in
the Eastern District of Michigan.

       IT IS THEREFORE ORDERED that, with the consent of that court, this litigation is
reassigned to the Honorable Sean F. Cox, for coordinated or consolidated pretrial proceedings
pursuant to 28 U.S.C. § 1407.



                                      FOR THE PANEL




                                       Karen K. Caldwell
                                       Chair
